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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

RUBY FREEMAN


and                                   Civil Action No. 21-3354 (BAH)


WANDREA MOSS,


                 Plaintiffs,


      v.


RUDOLPH W. GIULIANI,


                 Defendant.




              PLAINTIFFS’ PROPOSED JURY INSTRUCTIONS
                ON BURDEN OF PROOF AS TO DAMAGES
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       Plaintiffs Ruby Freeman and Wandrea’ ArShaye “Shaye” Moss (“Plaintiffs”) respectfully

submit this response to the Court’s December 5, 2023 Minute Order.

       Once the fact of injury is established, as it is in this case, proving the “amount of damages

requires only a reasonable estimate.” Huber v. United States, No. 14-CV-1380 (TSC), 2019 WL

4540225, at *1 (D.D.C. Sept. 19, 2019); see id. (collecting cases.) A plaintiff’s burden at the

damages stage, therefore, is to provide “only ‘some reasonable basis on which to estimate

damages.’” Id. (quoting Wood v. Day, 859 F.2d 1490, 1493 (D.C. Cir. 1988)). “The relevant data

may include ‘probable and inferential, as well as direct and positive proof.’” Id. (quoting Bigelow

v. RKO Radio Pictures, Inc., 327 U.S. 251, 264 (1946)). This well-established burden of proof

applies equally to a plaintiff seeking to prove damages after a default judgment on liability. See

Hill v. Republic of Iraq, 328 F.3d 680, 684 (D.C. Cir. 2003).

       Plaintiffs understand that the Court ordinarily provides the jury with a separate, stand-alone

instruction on the burden of proof. See, e.g., Jury Instructions at 3, Lynch v. Wal-Mart Assocs.,

Inc., No. 20-cv-934 (BAH) (D.D.C. Aug. 9, 2023), ECF No. 58. Plaintiffs respectfully submit that

in this case, however, that procedure is complicated both by the fact that liability has already been

established in Plaintiffs’ favor, and because the jury is entitled to presume damages for Plaintiffs’

defamation per se claim. To minimize the risk of jury confusion arising from these unusual

circumstances, Plaintiffs propose to insert the following language into their proposed jury

instructions on compensatory damages for defamation and IIED, respectively:




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1. To be inserted into the sixth paragraph of Plaintiffs’ proposed jury instruction titled,
   “Compensatory Damages for Defamation”:

        Although Plaintiffs are not required to present evidence of the harm they have
        suffered as a result of the Actionable Statements for you to award damages to
        compensate for that harm, you are entitled to consider any such evidence if it is
        presented. [Plaintiffs’ burden in presenting such evidence is only to provide a
        reasonable basis from which you can estimate the harm to their reputation.
        While you may not engage in speculation or guesswork, you are entitled to
        approximate Plaintiffs’ damages based upon the evidence they have presented.
        Furthermore, i]f you decide that the evidence does not fully capture the harm that
        Plaintiffs suffered as a result of the damage to their reputations, you may award an
        additional amount that, using your good judgment and common sense, you decide
        is necessary to fully compensate the Plaintiffs for the harm caused to their
        reputations by the Actionable Statements.

2. To be inserted into the second paragraph of Plaintiffs’ proposed jury instruction titled,
   “Compensatory Damages for IIED.”

        There is no exact standard or mathematical formula for deciding the compensation
        to be awarded for this type of harm. Nor is the testimony of any witness required
        about the amount of compensation. [Once you conclude that it is more likely than
        not that Plaintiffs suffered damages in the form of emotional distress,
        Plaintiffs’ burden is only to provide a reasonable basis from which you can
        estimate their damages. While you may not engage in speculation or
        guesswork, you are entitled to approximate Plaintiffs’ damages based upon
        the evidence they have presented.] To decide the amount that would fairly and
        reasonably compensate Plaintiffs for emotional distress, you should consider the
        facts of this case in the light of your own experience and common sense.

Such as an approach would also be consistent with the current proposed instruction as to

compensatory damages for defamation, in which Plaintiffs previously included a

preponderance-of-the-evidence standard for purposes of quantifying future harm. See ECF

No. 105-5, at 22 (“. . . you may award damages to compensate Ms. Freeman and Ms. Moss

for injury and losses that you determine, by a preponderance of the evidence, whill

continue.”). Should the Court prefer that these various burden-of-proof instructions instead

be consolidated into a single stand-alone instruction, Plaintiffs would be happy to submit

an additional filing to that end.



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                                                Respectfully submitted.

/s/ Michael J. Gottlieb
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                               CERTIFICATE OF SERVICE

       I certify that on December 6, 2023, the foregoing was served on all parties through their

counsel of record by filing it with the Court’s CM/ECF system.

                                                          s/ Michael J. Gottlieb




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